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 1                SIGNATURE ATTESTATION PURSUANT TO CIVIL L.R. 5-1(h)

 2          Pursuant to Civil L.R. 5-1(h), I hereby attest that concurrence in the filing of the

 3   Declaration of Michael D. Smith, ECF No. 227, was obtained from the document’s signatory. I

 4   declare under penalty of perjury that the foregoing is true and correct.

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 6    Dated: September 12, 2024                                       /s/ Timothy Chung
                                                                        Timothy Chung
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                                                       SIGNATURE ATTESTATION PURSUANT TO CIVIL L.R. 5-1(H)
